          Case 2:22-cv-00046-GGG-DPC Document 9 Filed 05/31/22 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

LANDRY DIXON                                                           CIVIL NO. 22-46


VERSUS                                                                   SECTION: T(2)

VETERANS AFFAIRS
ADMINISTRATION, et al


                                              ORDER

           On May 12, 2022, the Magistrate Judge issued a Report and Recommendation,

recommending that the Plaintiff’s Complaint [5] be DENIED as frivolous.1 The Plaintiff failed to

comply with the Magistrate Judge’s show cause Order and did not file an objection to the Report

and Recommendation. Having carefully considered the filings, the applicable law, and the

Magistrate Judge’s Report and Recommendation, the Court APPROVES the Magistrate Judge’s

Report and Recommendation and ADOPTS the Report as the Court’s opinion herein.

           Accordingly, IT IS ORDERED that the Report and Recommendation is ADOPTED as

the Court’s opinion.

           IT IS FURTHER ORDERED that the plaintiff’s complaint be DISMISSED WITH

PREJUDICE as frivolous under 28 U.S.C. § 1915(e)(2).

           New Orleans, Louisiana this 31st day of May, 2022.




1
    R. Doc. 8.
